                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        AT GREENEVILLE

UNITED STATES OF AMERICA                                      )
                                                              )
                                                              )
v.                                                            )        No.      2:13-CR-34(06)
                                                              )
PENELOPE SHARP                                                )



                                     MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s pro se1 motions for a sentence

reduction, [Docs. 619, 623]. In the defendant’s motions, the defendant requests that the Court

resentence her pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment 782 and

Amendment 788 to the United States Sentencing Guidelines Manual. The government has

responded, [Doc. 642], and argues that the defendant is ineligible for the reduction because the

resulting new guideline range is higher than the defendant’s original sentence. See United States

Guidelines Manual § 1B1.10(b)(2)(A) (“[T]he court shall not reduce the defendant’s term of

imprisonment under 18 U.S.C. 3582(c)(2) and this policy statement to a term that is less than the

minimum of the amended guideline range.”). For the reasons that follow, the defendant’s motion

is DENIED.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.




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 Federal Defender Services was appointed to represent the defendant by Standing Order 14-07 and order, [Doc.
621, 626]. However, because the defendant is ineligible for relief, FDS is unlikely to file any supplemental motion
on her behalf.



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United States, 131 S. Ct. 3685, 2690 (2011) (internal citation and quotation marks omitted). One

exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission . . . , the court may reduce the term of imprisonment,
       after considering the factors set forth in section 3553(a) to the extent that they are
       applicable, if such a reduction is consistent with applicable policy statements
       issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two requirements

for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission[.]” United States v. Riley, 726 F.3d 756, 758 (6th Cir. 2013) (internal quotation

marks and citation omitted). Second, “such reduction [must be] consistent with applicable policy

statements issued by the Sentencing Commission.” Id. (internal quotation marks omitted). If the

reviewing court determines that the defendant is eligible for a sentence reduction, then “[t]he

court may then ‘consider whether the authorized reduction is warranted, either in whole or in

part, according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d 946,

949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment based

on a sentencing range that has subsequently been lowered by the Sentencing Commission, the

Court must first determine “the amended guideline range that would have been applicable to the

defendant had the relevant amendment been in effect at the time of the initial sentencing.”

Dillon, 560 U.S. at 827 (internal quotation marks and citation omitted); see also U.S. Sentencing

Guidelines Manual § 1B1.10(b)(1).          Other than substituting Amendment 782 for the

corresponding provision applicable when the defendant was originally sentenced, the Court

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“shall leave all other guideline application decisions unaffected.” Id. And the Court “shall not”

reduce a defendant’s term of imprisonment to a term “less than the minimum of the amended

guideline range,” nor to a term “less than the term of imprisonment the defendant has already

served.” Id. § 1B1.10(b)(2)(A), (C). Ordinarily, a defendant’s sentence may not be reduced to a

term “less than the minimum of the amended guideline range.” USSG § 1B1.10(b)(2)(A). But

where, as here, the defendant previously received a below-guideline sentence “pursuant to a

government motion to reflect the defendant’s substantial assistance to authorities,” the Court has

authority to grant a reduction “comparably less than the amended guideline range.” USSG §

1B1.10(b)(2)(B). In addition to these limits, section 1B1.10 states that a court must also consider

the § 3553 factors and the danger to the public created by any reduction in a defendant’s

sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

conduct. Id.

II.      Factual Background

         The defendant pleaded guilty to conspiring to distribute a quantity of oxycodone in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(C). At the time of sentencing, the defendant was

held responsible for 129,000 milligrams of oxycodone, the equivalent of 864 kilograms of

marijuana. [Presentence Investigation Report (“PSR”) ¶ 30]. Given the amount of drugs for

which the defendant was held responsible, the defendant’s base offense level was 30. [Id. ¶ 31].

The defendant received a three-level reduction for acceptance of responsibility pursuant to

section 3E1.1(a) and (b), which resulted in a offense level of 27, [Id. ¶ 46]. The defendant met

the “safety-valve” eligibility requirements of USSG § 5C1.2 and pursuant to USSG §

2D1.1(b)(16) her offense level was decreased by another two levels resulting in a total offense

level of 25. Given the defendant’s criminal history category of I, the defendant’s applicable
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guideline range was 51 to 71 months’ imprisonment, [Sentencing Transcript p. 2; PSR Second

Addendum]. At the sentencing hearing, the government moved for an additional one level

reduction due to the defendant’s substantial assistance pursuant to USSG § 5K1.1 resulting in a

guideline range of 51 to 63 months’ imprisonment based on an offense level of 24. [Sentencing

Transcript p. 6-7; Doc. 570]. Finally, the defendant signed and submitted to the Court an

“Agreement Regarding Sentencing” where the government agreed to not object to an immediate

two-level reduction based on the likely retroactive effect of Amendment 782 in exchange for the

defendant waiving her future right to file a § 3582(c) motion requesting such a reduction. [Doc.

588]. The defendant and her counsel signed this waiver and after the Court inquired as to

whether the waiver was entered knowingly and voluntarily, the Court accepted the waiver.

[Sentencing Transcript p. 23]. The Court applied the agreement and lowered the defendant’s

offense level by two by applying Amendment 782, resulting in an offense level of 22. The

defendant’s final guideline range based on all of the reductions and the reduction in anticipation

of Amendment 782 was 41 to 51 months. [Id.] The Court sentenced the defendant on June 30,

2014, to 41 months’ imprisonment, [Doc. 596].

III.   Analysis

       Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the guidelines applicable to drug-trafficking offenses by reducing by two levels the

offense levels assigned to the drug quantities described in section 2D1.1. U.S. Sentencing

Guidelines Manual App. C, amend. 782. Amendment 782 also makes corresponding changes to

section 2D1.11. Amendment 788, which became effective on November 1, 2014, as well,

identified Amendment 782 as retroactive. U.S. Sentencing Guidelines Manual App. C, amend.

788.
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       The defendant here has already received the benefit of Amendment 782. The defendant

agreed to waive her right to file this motion, a § 3582(c) motion based on the retroactivity of

Amendment 782, in exchange for receiving an immediate two-level reduction at the time of her

sentencing hearing in June 2014. The defendant submitted the executed waiver to the Court and

answered the Court’s questions at the sentencing hearing to ensure that she understood that she

was waiving her right to file this motion in exchange for the immediate benefit of the

Amendment’s two-level reduction. Without the application of such a waiver, the defendant

faced a guideline range of 51 to 63 months’ imprisonment. However, as noted in the sentencing

hearing transcript, the Court accepted the sentence reduction agreement and immediately

lowered the defendant’s offense level from 24 to 22 based on the likelihood that Amendment 782

would become retroactive.      Because the defendant has already received the benefit of

Amendments 782 and 788 and because she knowingly waived her right to file this motion, the

defendant’s motion, [Doc. 619], is DENIED. All provisions of the judgment, [Doc. 596], shall

remain in effect.

       ENTER:



                                                                   s/J. RONNIE GREER
                                                             UNITED STATES DISTRICT JUDGE




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